 Case 4:19-cv-00179-SDJ Document 101 Filed 02/05/21 Page 1 of 1 PageID #: 2350




                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

JANE ROE                                   §
                                           §
v.                                         § CIVIL NO. 4:19-CV-179-SDJ
                                           §
LEIGHTON PAIGE PATTERSON,                  §
ET AL.                                     §

                                       ORDER

       Before this Court is Plaintiff’s Unopposed Motion to Seal Exhibits, (Dkt. #98).
          .
 Having considered the motion, the Court deems that it should be granted.

       It is therefore ORDERED that the motion is GRANTED. Plaintiff’s Exhibits

 A-1 through A-11 in Support of Plaintiff’s Response to Defendant Southwestern

 Baptist Theological Seminary’s Motion to Compel Independent Mental Evaluation of

 Plaintiff and for Extension of Expert Designation Deadline shall be filed under seal ,

 and any documents filed in support of any opposition to Plaintiff’s motion shall

 likewise be filed under seal.

              So ORDERED and SIGNED this 5th day of February, 2021.




                                                         ____________________________________
                                                         SEAN D. JORDAN
                                                         UNITED STATES DISTRICT JUDGE
